              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

  REBECCA TERRY,

                           Plaintiff,              Case No. 17-CV-1112-JPS

  v.

  COUNTY OF MILWAUKEE,                                            ORDER
  RICHARD R. SCHMIDT, OFFICER
  BRIAN WENZEL, UNKNOWN
  EMPLOYEES OF MILWAUKEE
  COUNTY JAIL, UNKNOWN JAIL
  SUPERVISORS, ARMOR
  CORRECTIONAL HEALTH
  SERVICES INC., CAROLYN EXUM,
  MORGAN BEVENUE, and
  MARGARET HOOVER,

                           Defendants.

       Presently before the Court is an expedited non-dispositive motion

filed pursuant to Civ. L.R. 7(h) by Morgan Bevenue, County of Milwaukee,

Carolyn Exum, Margaret Hoover, Richard R. Schmidt, and Brian Wenzel

(“County Defendants”). In their motion filed on November 6, 2018, the

County Defendants seek an extension of time to complete discovery and to

compel depositions of Plaintiff’s witnesses. (Docket #199). Plaintiff opposed

this motion that same day. (Docket #201).

       The Court notes that there is a fully briefed motion for summary

judgment pending. In light of this, the December 3, 2018 trial date, the

November 27, 2018 final pretrial conference, and the other pending

deadlines of the Court’s July 2, 2018 Second Amended Trial Scheduling

Order (Docket # 148) will be removed from the Court’s calendar. The Court



 Case 2:17-cv-01112-JPS Filed 11/13/18 Page 1 of 2 Document 204
will replace such dates with a status conference to be held on Thursday,

February 7, 2019 at 8:30 AM. This leaves the parties with ample time to

resolve their discovery disputes, and they are strongly encouraged to do so.

      Accordingly,

      IT IS ORDERED that the December 3, 2018 trial date, the November

27, 2018 final pretrial conference, and the other pending deadlines of the

Court’s July 2, 2018 Second Amended Trial Scheduling Order (Docket #148)

be and the same are hereby ADJOURNED and REPLACED with a status

conference to be held on Thursday, February 7, 2019 at 8:30 AM; and

      IT IS FURTHER ORDERED that the County Defendants’ expedited

non-dispositive motion to extend discovery and compel depositions

(Docket #199) be and the same is hereby DENIED without prejudice; the

Court strongly encourages the parties to work cooperatively to resolve the

discovery dispute at issue before the February 7, 2019 status conference.

      Dated at Milwaukee, Wisconsin, this 13th day of November, 2018.

                                  BY THE COURT:




                                  J.P. Stadtmueller
                                  U.S. District Judge




                                Page 2 of 2



 Case 2:17-cv-01112-JPS Filed 11/13/18 Page 2 of 2 Document 204
